    USDC IN/ND case 2:17-cv-00033-JPK document 218 filed 12/21/22 page 1 of 2


                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF INDIANA
                                        HAMMOND DIVISION



JOHN DOE,                                                 )
                Plaintiff,                                )
                                                          )
        v.                                                )        CAUSE NO.: 2:17-CV-33
                                                          )
PURDUE UNIVERSITY,                                        )
PURDUE UNIVERSITY BOARD OF TRUSTEES,                      )
MITCHELL ELIAS DANIELS, JR.,                              )
ALYSA CHRISTMAS ROLLOCK,                                  )
KATHERINE SERMERSHEIM,                                    )
           Defendant.                                     )


                             ORDER FOR SETTLEMENT CONFERENCE

        A Settlement Conference in the above case is hereby scheduled for February 13, 2023 at 09:30

a.m. Central time (date agreed to by the parties) via Zoom, before the Honorable Joshua P. Kolar, Magistrate

Judge. This Settlement Conference represents a FINAL effort to achieve a settlement of all issues in the

case. It is assumed that by the time of the scheduled Conference, the parties will have made a concerted

effort to settle this case on their own but have been unable to do so.

        If no settlement is reached during the Court's Settlement Conference, it is expected that no settlement

will be possible in the future and that the case can proceed to trial. The Settlement Conference will be

conducted in such a manner as not to prejudice any party in the event settlement is not reached.

        Unless excused by the Court in advance, all individual parties and/or chief corporate officers as well

as lead trial counsel for the parties and those persons possessing final settlement authority for or on behalf

of the parties shall personally appear and remain present throughout the Settlement Conference. It

should not be necessary for persons attending the Settlement Conference to confer or consult with any

persons who are not attending the Settlement Conference before making, accepting or rejecting a settlement

offer. Any failure of the lead counsel, parties or persons with final authority to attend the Settlement




                                                      1
    USDC IN/ND case 2:17-cv-00033-JPK document 218 filed 12/21/22 page 2 of 2


Conference may result in an order to pay the fees and costs expended by the other parties in preparing

for and attending the Conference, or other sanctions.

        Each party shall provide the court with a brief Confidential Settlement Memorandum by January

23, 2023.     The Confidential Settlement Memorandum should be emailed in .pdf format to

Kolar_Chambers@innd.uscourts.gov. To the extent possible, any exhibits to the settlement memorandum

should be included with the memorandum as a single .pdf document. Under no circumstances will the

Confidential Settlement Memoranda be disclosed to opposing counsel by the Court. The following

information shall be included in the Confidential Settlement Memorandum:

        1.       A brief statement of the facts of the case, and of the claims and defenses, i.e., the statutory

or other grounds upon which the claims are founded. This statement should identify the major factual and

legal issues in dispute.

        2.       If any part of the pending action is based upon a written instrument, a copy of the relevant

portions of any such instrument should be attached.

        3.       An itemized statement or breakdown of the damages claimed, and of any other relief sought.

        4.       An estimate as to the total length of trial.

        5.       Whether any recovery by the Plaintiff(s) would be subject to any lien and, if so, the source,

nature and amount of any such lien.

        6.       A summary of settlement negotiations to date.

        7.       A good faith estimate of your client’s range of settlement. This figure is for the Court's own

consideration and will not be disclosed to opposing counsel.

        8.       Any other matter which you feel the Court should be made aware of prior to the

commencement of the conference.

        So ORDERED this 21st day of December 2022.

                                                   /s/Joshua P. Kolar
                                                   UNITED STATES MAGISTRATE JUDGE



                                                       2
